                   Case 2:21-cv-00275 Document 2 Filed 03/04/21 Page 1 of 2




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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

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     CENTER FOR BIOLOGICAL DIVERSITY,
10                                                          Civil Action No. 2:21-cv-00275
                 Plaintiff,
11                                                          PLAINTIFF’S CORPORATE
         v.                                                 DISCLOSURE STATEMENT
12
     ARMY CORPS OF ENGINEERS;
13   LIEUTENANT GENERAL SCOTT A.
     SPELLMON, Commanding General, Army
14   Corps of Engineers; WYNN COGGINS,
     Acting Head of Commerce; and NATIONAL
15   MARINE FISHERIES SERVICE,

16               Defendants.

17

18            Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 7.1, I, the

19   undersigned counsel of record for Plaintiff, certify that to the best of my knowledge and belief,

20   the Center for Biological Diversity (1) has no parent corporation or publicly held corporation

21   owning more than 10 percent of its stock; (2) has no member or owner in a joint venture or

22   limited liability corporation (LLC); (3) has no partners in a partnership or limited liability

23   partnership (LLP); and (4) has no corporate member.

24
     PLAINTIFF’S CORPORATE                                         CENTER FOR BIOLOGICAL DIVERSITY
     DISCLOSURE STATEMENT                                           2400 NW 80th St. #146; Seattle, WA 9811
     Civil Action No. 2:21-cv-00275                     1                                    (206) 327-2344
                   Case 2:21-cv-00275 Document 2 Filed 03/04/21 Page 2 of 2




 1   Respectfully submitted this 4th day of March, 2021,

 2                                               By: s/ Sophia N. Ressler

 3                                               Sophia N. Ressler (WA Bar No. 48406)
                                                 CENTER FOR BIOLOGICAL DIVERSITY
 4                                               2400 NW 80th Street, #146
                                                 Seattle, WA 98117
 5                                               Phone: (206) 900-7953
                                                 sressler@biologicaldiversity.org
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                                                 Attorney for Plaintiff
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     PLAINTIFF’S CORPORATE                                      CENTER FOR BIOLOGICAL DIVERSITY
     DISCLOSURE STATEMENT                                        2400 NW 80th St. #146; Seattle, WA 9811
     Civil Action No. 2:21-cv-00275                 2                                     (206) 327-2344
